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IN THE UNITED sTATEs DISTRICT coURT FHI:`D FB"Y‘ ll(f_/__ iZ‘».C.
FOR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED S'I‘ATES OF AMERICA,
Plaintiff,
vs.

CR. NO. O§-ZOOB€-Ma

WILLIE ANDRA WOODS,
TYRONE LANARD TERRY,

~_/~__¢-_-~_/-_'-._»--..¢-._.~‘-_-_»

Defendants.

 

ORDER ON CONTINUANCE A.ND SPECIFYING PERIOD OF EXCLUDA.'BLE DELAY

 

This cause came cna for' a report date on. April. 2l, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period. fronl April 21, 2005 through. duly 15, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

glsL

IT IS SO ORDERED this day of May, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Tth document entered on the docket shea in compliance
with me 55 and/or 32{b) Fnch on ~ 195

 

 

 

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This notice confirms a copy of the document docketed as number 35 in
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June 3, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

